                                                           Form 1
                                       Individual Estate Property Record and Report                                                                 Page: 1-1

                                                        Asset Cases
Case No.:    21-00089                                                                      Trustee Name:      (670100) Matthew J. Anderton
Case Name:        GASPERETTI, INC                                                          Date Filed (f) or Converted (c): 01/22/2021 (f)
                                                                                           § 341(a) Meeting Date:       03/11/2021
For Period Ending:       03/31/2021                                                        Claims Bar Date:

                                   1                                 2                    3                      4                    5                  6

                           Asset Description                      Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                   Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                           and Other Costs)

    1       checking Account at Heritage Bank                            0.00                      0.00                                   0.00                   0.00
            (receivership estate bank account?) 301
            W. Yakima Ave. monies are believed to
            have been transferred and being held in
            trust at Carlson Hinton Law.

    2       Tangible personal property liquidated                  29,041.00                  29,041.00         OA                   29,041.68                        FA

    3       pre-paid insurance for builidng (expires                Unknown                   Unknown                                     0.00               Unknown
            5/15/21)

    4       alleged interest in John Gasperetti dba                      0.00                      0.00                                   0.00                   0.00
            15.1. Gasperetti's Floral & Design, 0%
            ownership, Valuation Method: N/A

    5       1013 N 1st Ave. Yakima, WA 98901, Fee                 335,000.00                       0.00                                   0.00           335,000.00
            simple, Valuation Method: Liquidation

    6       non-registered intellectual property (trade             Unknown                   Unknown                                     0.00               Unknown
            names of Gasperetti's Inc., and G-Spot).

    7       alleged interest in recipte book. Valuation                  0.00                      0.00                                   0.00                   0.00
            Method: N/A

    8       possible claim against Homestreet Bank                  Unknown                   Unknown                                     0.00               Unknown
            related to reduction/diminuton of value of
            real property, lender liability. Amount
            Requested: $0.00

    9       claims against the Snyder family (no                         0.00                      0.00                                   0.00                   0.00
            litigation pending at this time), breach of
            contract, negligent/intentional
            intereference in business. Amount
            Requested:
            negligent/intentionalintereferenceinbusine
            ssinterests

   10       Amount requested $0.00 claim again                      Unknown                   Unknown                                     0.00               Unknown
            Valley Title (did the initial abstract) Pacific
            National (provided coverage) claims for
            negligence, negligence. Amount
            Requested: $0.00

  10        Assets Totals (Excluding unknown values)             $364,041.00               $29,041.00                             $29,041.68           $335,000.00




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                                                        Form 1
                                    Individual Estate Property Record and Report                                                  Page: 1-2

                                                     Asset Cases
Case No.:   21-00089                                                         Trustee Name:      (670100) Matthew J. Anderton
Case Name:     GASPERETTI, INC                                               Date Filed (f) or Converted (c): 01/22/2021 (f)
                                                                             § 341(a) Meeting Date:    03/11/2021
For Period Ending:     03/31/2021                                            Claims Bar Date:


Major Activities Affecting Case Closing:

                           1/22/21 - This is an Involuntary, Non-Individual Chapter 7 petition
                           2/8/21 - Trustee Anderton appointed
                           2/10/21 - Property was listed at $405,000.
                           2/22/21 - Motion for Turnover filed by DC T. Carlson
                           2/26/21 - Objection filed by Homestreet bank for turnover
                           2/28/21 - Building is currently insured through 5/15/21 - will need copy of policy and trustee added
                           3/2/21 - Application to employ Anderton Law as Attny for Trustee. Order entered 3/4/21 ECF 26
                           3/4/21 - Motion to Dismiss filed by Homestreet Bank
                           3/8/21 - Trustee objection to turnover motion filed
                           3/12/21 - Application to employ Lars Hanson as realtor for trustee. Order entered 3/16/21
                           3/15/21 - Issues regarding the security of the building have occurred and are being addressed
                           3/22/21 - Objection to turnover filed by SBA
                           3.23.21 - Joinder to Objections filed by WA State Taxing Agencies
                           3/24/21 - Joinder to Objections filed by R. William Dolsen & Descendants of 2018 Trust
                           3/26/21 - Objection to Motion to Dismiss filed by DC T Carlson for global Ventures, Inc. - Ongoing Evaluation
                           of Potential Assets Realiazable for Estate
                           3/29/21 - Motion to lift stay and abandonment filed by Heritage Bank
                           4/21/21 - Order granting lift stay and abandonment entered




Initial Projected Date Of Final Report (TFR): 12/15/2022            Current Projected Date Of Final Report (TFR):    12/15/2022




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                                                                Form 2
                                                                                                                                                  Page: 2-1
                                                Cash Receipts And Disbursements Record
Case No.:              21-00089                                            Trustee Name:                    Matthew J. Anderton (670100)
Case Name:             GASPERETTI, INC                                     Bank Name:                       People’s United Bank
Taxpayer ID #:         **-***7648                                          Account #:                       ******7446 Checking
For Period Ending:     03/31/2021                                          Blanket Bond (per case limit):   $55,683,398.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                     3                                           4                              5                  6                    7

  Trans.    Check or        Paid To / Received From            Description of Transaction      Uniform        Deposit           Disbursement       Account Balance
   Date      Ref. #                                                                           Tran. Code        $                     $

(No transactions on file for this period)

                                           COLUMN TOTALS                                                                 0.00              0.00                $0.00
                                                  Less: Bank Transfers/CDs                                               0.00              0.00
                                           Subtotal                                                                      0.00              0.00
                                                  Less: Payments to Debtors                                                                0.00

                                           NET Receipts / Disbursements                                                 $0.00             $0.00




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{ } Asset Reference(s)                                Doc 58      Filed 05/07/21             Entered 05/07/21 22:55:43
                                                                                                                ! - transaction Pg  3 of
                                                                                                                                has not    5 cleared
                                                                                                                                        been
                                                               Form 2
                                                                                                                                                 Page: 2-2
                                               Cash Receipts And Disbursements Record
Case No.:              21-00089                                           Trustee Name:                     Matthew J. Anderton (670100)
Case Name:             GASPERETTI, INC                                    Bank Name:                        People’s United Bank
Taxpayer ID #:         **-***7648                                         Account #:                        ******7470 Checking
For Period Ending:     03/31/2021                                         Blanket Bond (per case limit):    $55,683,398.00
                                                                          Separate Bond (if applicable):    N/A

    1            2                    3                                           4                               5                 6                    7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit          Disbursement       Account Balance
   Date      Ref. #                                                                            Tran. Code       $                    $

 03/02/21     {2}      Team Carlson Law PLLC             Distribution Fees - Court approved    1129-000           29,041.68                                  29,041.68
 03/31/21              People’s United Bank              Bank and Technology Services          2600-000                                 43.44                28,998.24
                                                         Fees

                                          COLUMN TOTALS                                                            29,041.68             43.44               $28,998.24
                                                 Less: Bank Transfers/CDs                                               0.00              0.00
                                          Subtotal                                                                 29,041.68             43.44
                                                 Less: Payments to Debtors                                                                0.00

                                          NET Receipts / Disbursements                                            $29,041.68            $43.44




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{ } Asset Reference(s)                               Doc 58      Filed 05/07/21               Entered 05/07/21 22:55:43
                                                                                                                 ! - transaction Pg  4 of
                                                                                                                                 has not    5 cleared
                                                                                                                                         been
                                                       Form 2
                                                                                                                           Page: 2-3
                                       Cash Receipts And Disbursements Record
Case No.:           21-00089                                Trustee Name:                   Matthew J. Anderton (670100)
Case Name:          GASPERETTI, INC                         Bank Name:                      People’s United Bank
Taxpayer ID #:      **-***7648                              Account #:                      ******7470 Checking
For Period Ending: 03/31/2021                               Blanket Bond (per case limit): $55,683,398.00
                                                            Separate Bond (if applicable): N/A

                                       Net Receipts:          $29,041.68
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                         Net Estate:          $29,041.68




                                                                                              NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                    NET DEPOSITS    DISBURSEMENTS                BALANCES
                                 ******7446 Checking                               $0.00            $0.00                     $0.00

                                 ******7470 Checking                           $29,041.68                   $43.44         $28,998.24

                                                                              $29,041.68                    $43.44         $28,998.24




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